      Case 2:21-cv-00257 Document 32 Filed on 12/17/21 in TXSD Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

 JOHN DOE,                                   §
      Plaintiff,                             §
                                             §
 v.                                          §
                                             §
 TEXAS A&M UNIVERSITY –                      §    CIVIL ACTION NO. 2:21-cv-00257
 KINGSVILLE,                                 §
 MARK HUSSEY, IN HIS OFFICIAL                §
 CAPACITY AS PRESIDENT OF TEXAS              §
 A&M UNIVERSITY - KINGSVILLE                 §
     Defendants.                             §

      JOINT MOTION FOR ENTRY OF CONFIDENTIALITY AND PROTECTIVE ORDER

       Plaintiff John Doe and Defendants Texas A&M University Kingsville

(“TAMUK”) and Mark Hussey, in his official capacity as President of Texas A&M

University Kingsville (“Official Capacity Defendant”) (collectively “Defendants”),

jointly move the Court to enter the Confidentiality and Protective Order attached hereto

as Exhibit 1 to govern the privacy of Plaintiff Doe, the respondent in a TAMUK

investigation into allegations of sexual assault, together with the privacy of third parties,

including the (former) student complainant in that investigation and two students who

participated as witnesses.

       Certain documents, including video footage, the Parties have produced or will

produce contain or may contain material of a confidential nature including, but not limited

to, personally identifiable information related to participants in TAMUK’s investigation

into allegations of sexual assault brought by Jane Roe against John Doe, including the


                                                                                           1
     Case 2:21-cv-00257 Document 32 Filed on 12/17/21 in TXSD Page 2 of 4




complainant, Roe; the respondent, Doe; and two student witness participants in the

investigation.

       The Parties believe that no less restrictive means than restricting the use and

disclosure of these confidential documents and videotape footage will adequately and

effectively protect the specific interests asserted.

       In support of the Parties’ motion for the Protective Order, the Parties respectfully

request that the Court find that:

   1. The absence of a Protective Order puts the privacy of Plaintiff Doe and third parties,

       including the complainant in a TAMUK investigation into allegations of sexual

       assault and two student witnesses in that investigation, at risk; and

   2. To protect the respective privacy interests of Plaintiff Doe and of third parties, and

       to ensure compliance with federal law protecting the identities of complainants,

       respondents, and student witnesses in university investigations into allegations of

       sexual assault, the attached Protective Order should be issued by the Court.

       WHEREFORE, the Parties respectfully request the entry of the Protective Order

attached hereto as Exhibit 1 and pray for such other and further relief as this Court deems

just and proper.




                                                                                          2
    Case 2:21-cv-00257 Document 32 Filed on 12/17/21 in TXSD Page 3 of 4




Respectfully submitted,

/s/ Amie Augenstein (signed w permission)      KEN PAXTON
Amie Augenstein                                Attorney General of Texas
Attorney-in-Charge for Plaintiff
Texas Bar No. 2485184                          BRENT WEBSTER
Southern District Bar No. 2236723              First Assistant Attorney General
Amie@GaleLawGroup.com
                                               GRANT DORFMAN
/s/Christopher J. Gale (signed w permission)   Deputy First Assistant Attorney General
Christopher J. Gale
Attorney for Plaintiff                         SHAWN COWLES
Texas Bar No. 00793766                         Deputy Attorney General Civil Litigation
Southern District Bar No. 27257
Chris@GaleLawGroup.com                         THOMAS A. ALBRIGHT
                                               Chief – General Litigation Division

                                               /s/ Benjamin Lyles
                                               BENJAMIN STOREY LYLES
                                               Attorney-in-charge
                                               Texas Bar No. 24094808
                                               Southern District ID. 3062156
                                               Assistant Attorney General
                                               Office of the Attorney General
                                               General Litigation Division
                                               P.O. Box 12548, Capitol Station
                                               Austin, TX 78711-2548
                                               (512) 463-2798 PHONE
                                               (512) 320-0667 FAX
                                               Benjamin.Lyles@oag.texas.gov

                                               ATTORNEYS FOR DEFENDANTS




                                                                                          3
     Case 2:21-cv-00257 Document 32 Filed on 12/17/21 in TXSD Page 4 of 4




                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing instrument has been

served electronically through the electronic-filing manager in compliance with Texas Rule

of Civil Procedure 21a on this December 17, 2021 to all counsel of record.

                                          /s/ Benjamin Lyles
                                          BENJAMIN STOREY LYLES
                                          Assistant Attorney General




                                                                                       4
